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08-cv-O6090-FMC-AGR Document 43 Filed 08/05/09 Page 1of 31 Page ID #:520

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STEVEN BENHAYON

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

In re
STEVEN BENHAYON, an Individual,

Plaintiff,
VS.

ROYAL BANK OF CANADA, a Canadian
company, business form unknown; RBC
WEALTH MANAGEMENT COMPANY,
formerly RBC DAIN RAUSCHER, INC.,
business form unknown; THE ROYAL
BANK OF CANADA US WEALTH
ACCUMULATION PLAN, formerly known!
as RBC  £Dain Rauscher Wealth
Accumulation Plan; and, DOES 1 through
20,

Defendants.

 

 

Case No.: CV08-06090 FMC (AGRx)
Assigned to Hon. Florence-Marie
Cooper [Courtroom 750 (Roybal)]

PLAINTIFF’S REPLY BRIEF RE:
ERISA ISSUES; DECLARATION OF
KARI M. MYRON

[Filed concurrently with Plaintiff's
Response to Defendants’ Separate
Statement of Uncontroverted Facts and
Conclusions of Law, and Plaintiff's
Separate Statement of Genuine Issues of
Material Fact]

DATE: Not set.
TIME: Not set.
CTRM: Not set.

TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD HEREIN:
Plaintiff STEVEN BENHAYON hereby submits his Reply Brief Re: ERISA

Issues, as follows.

 

PLAINTIFF’S REPLY BRIEF RE: ERISA ISSUES

 

 
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08-cv-06090-FMC-AGR Document 43. Filed 08/05/09 Page 2 of 31 Page ID #:521

I.
II.

Ii.

IV.

 

MEMORANDUM OF POINTS AND AUTHORITIES. ..............cccececccuereseesees 2

Vil.

VIL

Table of Contents

INTRODUCTION. ...00 0.0 ce cece cent eee cen ee ee ese sneeeeesenenesesaseressaas 2
THE CORRECT STANDARD OF REVIEW IS A MODIFIED ABUSE OF
DISCRETION STANDARD, AS A CONFLICT OF INTEREST CLEARLY
15D, @ ISS KS Renee 5
EVEN UNDER THE MODIFIED ABUSE OF DISCRETION STANDARD,
THE COURT CANNOT REVIEW THE ADMINISTRATIVE RECORD FOR
AN ABUSE OF DISCRETION BECAUSE RBC HAS REFUSED TO
PRODUCE THE WAP COMMITTEE MINUTES...........0.c:cceseeeesseseeecees 6
RBC FAILS TO MEET ITS BURDEN OF PROOF AS TO IS AFFIRMATIVE
DEFENSE THAT THE WAP IS A “TOP HAT” PLAN UNDER

A. RBC Fails to Demonstrate Specific Facts That the WAP Was
“Unfunded” 2.0.0... cece cece cceececececeeeeee renee enenseeseeecusususieeeses 8

B. RBC Fails to Demonstrate Specific Facts That the WAP Covered A
“Select Group” of Sales Employees.................ccceceeseeeeeescuseeees 9

AS THE 2007 PLAN DOES NOT CONTAIN AN INTEGRATION CLAUSE,
IT IS NOT THE FINAL AGREEMENT OF THE PARTIES AND DOES NOT
SUPERCEDE THE 3002 WAP PLAN .............:ccccccecceceeesetssencesasuesens 10
PLAINTIFF REITERATES ITS REQUEST THAT THIS COURT EITHER
DENY RBC’S MOTION, OR GRANT HIM A CONTINUANCE TO
ENABLE PLAINTIFF TO PRESENT FACTS ESSENTIAL TO ITS
OPPOSITION. ...... 0. ccc cc cece nent ences ee ee ease eeeeaeaeeeneeeeeeeeensneeses 12
RBC’S MOTION IS PROCEDURALLY DEFECTIVE AS RBC HAS
FAILED TO FOLLOW THE FEDERAL AND LOCAL RULES............... 16
CONCLUSION. ....... 0.0 sc cccececececececeseeeeneneeeeeeeseensnecensereteeneasenecens 18

TABLE OF CONTENTS/AUTHORITIES

 
Case 2!

0 Oo ND DA HW BR WwW BP

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08-cv-O6090-FMC-AGR Document 43 Filed 08/05/09 Page 3o0f 31 Page ID #:522

Table of Authorities

CASES
Abatie v. Alta Health & Life Ins. Co., 458 F.3d 955 (9th Cir. 2006).............0..00 5,6
Anderson v. Liberty Lobby, Inc., 477 U.S. 242 (1986).........c.ccccececcesecencreneees 8, 12
Beaird v. Seagate Tech., Inc., 145 F.3d 1159 (10th Cir. 1998)... 0. eee 17

Brown v. Blue Cross & Blue Shield of Ala., Inc., 898 F.2d 1556 (11th Cir. 1990)......6
Carrabba v. Randalls Food Markets, Inc., 38 F.Supp.2d 468

(N.D. Tex. 1999)... cccccceccee cece cee ee cece neater teen ee een eee eeeeeeeeneeneeeeeaeeaeene eas 10
California v. Campbell, 138 F.3d 772 (9th Cir. 1998)... 0. cec ccc ccsecueeeeeceseeens 12
Celestine v. Petroleos de Venezuella SA, 266 F.3d 343 (5th Cir. 2001) .................17
Crumley v. Stonhard, Inc., 920 F. Supp. 589 (D.C. N.J. 1996).......0 0c ccc cscs es ecea ence 9
Culwell v. City of Fort Worth, 468 F.3d 868 (Sth Cir. 2006)............cccccceeeeeeeeeee 13
Doe v. Abington Friends Sch., 480 F.3d 252 (3d Cir. 2007).......... 00. c cc ccssseeeceeees 13
Employers Ins. of Wausau v. Petroleum Specialties, Inc., 69 F.3d 98

(Oth Cir, 1995) occ cece nce e eee ee eeeeeeeesaeeteneeteeseeuseusaeneseeueueuareness 17
Firestone Tire & Rubber Co. v. Bruch (1989) 489 U.S. 101..............cccccecascceeeees 5
Goodman v. Praxair, Inc., 494 F.3d 458 (4th Cir. 2007).........ccccc ccc cacceceeceeecusees 8
In re New Valley Corporation, 89 F.3d 143 (1996)........cecccscsessssssssccsessssssesssscensersnace 9

McCormick v. Fund American Cos., Inc., 26 F.3d 869 (9th Cir. 1994). .......0000000.. 13
Miller v. Eichleay Engineers, Inc., 886 F.2d 30 (3d Cir. 1989)... cececeeseeceeseeees 6,9
Restigouche, Inc. v. Town of Jupiter, 59 F.3d 1208 (11th Cir. 1995)............... 16, 17
Simas v. First Citizens’ Fed. Credit Union, 170 F.3d 37 (1st Cir. 1999)............... 13
Smith v. School Bd. of Orange County, 487 F.3d 1361 (11th Cir. 2007)......00....... 17
Tatum v. City & County of San Francisco, 441 F.3d 1090 (9th Cir, 2006)............. 13
United States v. Houston Pipeline Co., 37 F.3d 224 (Sth Cir. 1994)....00... cea 17

STATUTES
Fed. R.Civ.Proc. 8(C).. 0.00. cece cece cceseeecvceeecuseneecenccenactssecunseenaeenatenusesnvenaue 8
Fed. R.Civ.Proc. 56(C)...... ccc ccc ececcencecceccuceeceeecseceeeescusecunesteucesseutautsaenacs 16

ii

TABLE OF CONTENTS/AUTHORITIES

 

 
Case 2!

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oO fof SJ HA A ff

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11
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08-cv-O6090-FMC-AGR Document 43 Filed 08/05/09 Page 4of 31 Page ID #:523

Fed. R.Civ.Proc. S6(f).. 00... cccccccenceceaecnsecensseeneeeeeesseucucuceaeuauaeseeeentaneeenss 12
OTHER |

Local Rule 7-3..........c ccc cccscceccencessesecuceenecvscusseneenaeeeenneuaeereveuseteens 17,18

Local Rule 7-4........ 0c ccecccc ceca eeeeeeeeeeeeeeseeseeeeesecseeeseuceneernataeeesueatanaees 17

Local Rule 7-91... ccccccccecc ese eneeceasesesenseeeneuseessecasaesecaeuceeeeeeaarenaeaees 17

 

TABLE OF CONTENTS/AUTHORITIES

 

 
Case 2!

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l08-cv-06090-FMC-AGR_ Document 43. Filed 08/05/09 Page 5of 31 Page ID #:524

MEMORANDUM OF POINTS AND AUTHORITIES
I. INTRODUCTION’

On September 17, 2008, Plaintiff filed his Complaint against the ROYAL
BANK OF CANADA, RBC WEALTH MANAGEMENT COMPANY, formerly
RBC DAIN RAUSCHER, INC., and THE ROYAL BANK OF CANADA US
WEALTH ACCUMULATION PLAN, formerly known as RBC Dain Rauscher
Wealth Accumulation Plan (collectively “RBC”) alleging claims of relief for 1)
Violation of ERISA; 2) Violation of the Age Discrimination in Employment Act; and
3) Tortious Termination in Violation of Public Policy. Plaintiff alleges that the US
Wealth Accumulation Plan (the “WAP”) is a plan governed by ERISA.

On January 13, 2009, RBC filed its Answer, and raised the affirmative defense
that the WAP was not subject to ERISA. On or about March 17, 2009, in response to
discovery by Plaintiff, RBC stated that for purposes of this litigation, it will not
oppose Plaintiff's contention that the Plan is an “employee benefit plan regulated and
governed by the ERISA,” but that the WAP is a top hat plan exempt from ERISA’s
rules and regulations.

On July 22, 2009, RBC filed a Motion for Partial Summary Judgment on
Plaintiff's Claim for Benefits under the Royal Bank of Canada US Wealth
Accumulation Plan (the “MSJ”). In the MSJ, RBC maintains its contention that even
if the WAP is an ERISA plan, it is nonetheless exempt from ERISA’s rules and
regulations as a top hat plan.

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‘On July 31, 2009, Plaintiff filed an Ex Parte Application for an Order Continuing the
ERISA Reply Brief Due Date, or, in the Alternative, for an Order Shortening Time To
Depose RBC’s PMK and Shortening Time for RBC to Respond to Request for Production of
Documents at Time of PMK Deposition. In a good faith effort to comply with this Court’s
Simultaneous Briefing Order and to preserve its rights in this litigation, Plaintiff hereby
submits his “Reply Brief” and also opposes RBC’s summary judgment motion. In so doing,
Plaintiff does not waive its rights or arguments contained in the Ex Parte Application.

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PLAINTIFE’S REPLY BRIEF RE: ERISA ISSUES

 

 
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08-cv-O6090-FMC-AGR Document 43 Filed 08/05/09 Page 6 of 31 Page ID #:525

RBC has the burden of Proof _as to its affirmative defenses. As is well
settled, the party raising an affirmative defense has the burden of proving it. Thus,
RBC has the burden of proving that the WAP is a top hat plan, exempt from ERISA’s
rules and regulations. Plaintiff submits that RBC has failed to do so.

1. The WAP does not meet the quantitative requirement of a “select group”

because, pursuant to RBC’s letter to the Department of Labor dated March
13, 2001, the WAP covered approximately 1,200 employees, which far
exceeds the relative number of participants that are allowed in the case law
to constitute a “select group.”

2. Plaintiff argues that the WAP does not meet the qualitative requirement of a
“select group,” because pursuant to the case law, each of the WAP’s sales
employees do not have the requisite bargaining power to substantially
influence the specific terms and conditions of the WAP.

3. Plaintiff argues that the WAP is not an “unfunded” plan as required under
ERISA, because the WAP mandated contributions by its employee
participants (e.g., Mandatory Deferred Compensation), which were not
contributed by RBC, and did not come from RBC’s general assets.

Issues for Determination by the Court. If the Court finds that the WAP is
not a top hat plan, then it must determine whether RBC violated its fiduciary duties
owed to Plaintiff under ERISA in denying the vesting and distribution of his WAP
benefits.

If the Court finds that the WAP is a top hat plan, then it must determine
whether the WAP Committee abused its discretion in denying Plaintiff the vesting
and distribution of his WAP benefits.

In order to make findings with respect to the secondary issues, to wit,
violations of fiduciary duties and/or abuse of discretion in denying benefits, the Court
must look to the controlling plan provisions. The 2007 WAP Plan is without an

integration clause thus it cannot be found to be the final agreement of the parties

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PLAINTIFF’S REPLY BRIEF RE: ERISA ISSUES

 

 

 
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08-cv-O6090-FMC-AGR Document 43 Filed 08/05/09 Page 7 of 31 Page ID #:526

superseding all other WAP Plans, including the 2003 WAP Plan. This is a critical
determination in that when Plaintiff agreed to participate in the WAP, he was
provided with the 2003 WAP Plan and relied on the 2003 WAP Plan, which differs
substantially from the 2007 WAP Plan. As such Plaintiff asserts that the Court must
find that the 2003 WAP Plan controls. The 2003 WAP Plan allows an employee who
“separates” from employment with RBC before the vesting date and distribution date
of his or her benefits to still receive distributions from RBC. The 2003 WAP Plan
defines the term “Separation” as “the date of a Plan Participant’s separation of
employment from the Company.” In contrast, the 2007 WAP Plan sets forth certain
and distinct types of separation from RBC, including death, disability, retirement,
termination for cause, and termination due to restructuring. Termination without
cause, such as an employee’s separation from RBC due to a reduction in force or
other arbitrary decision, is omitted from the 2007 WAP Plan. Also, conspicuously
omitted the 2007 WAP Plan is any definition of the term “restructuring.”

Finaily, the Court cannot ignore the inherent conflict of interest presented. As
the RBC employees who were charged with the WAP’s administration were the same
employees who were responsible for the WAP’s enforcement and the hiring and
firing of RBC employees, there were no checks or balances in place to ensure that the
Committee members did not abuse their discretion in denying WAP benefits to
participants such as Plaintiff. The WAP was set up such that it speaks to the vesting
and distributions of benefits predicated on specific, enumerated situations (death,
disability, retirement, termination for cause, and “restructuring,”) it is completely
silent as to the contingency of an employee’s termination without cause.
Notwithstanding this, the Committee determined that Plaintiff had forfeited his
entitlement to benefits by virtue of “restructuring” despite the fact that this was not
the reason for his involuntary termination.
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PLAINTIFF’S REPLY BRIEF RE: ERISA ISSUES

 

 
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j08-cv-O6090-FMC-AGR Document 43 Filed 08/05/09 Page 8 of 31 Page ID #:527

Il. THE CORRECT STANDARD OF REVIEW IS A MODIFIED ABUSE
OF DISCRETION STANDARD, AS A CONFLICT OF INTEREST
CLEARLY EXISTS
In Firestone Tire & Rubber Co. v. Bruch (1989) 489 U.S. 101, the Supreme

Court held that “if a benefit plan gives discretion to an administrator or fiduciary who

is operating under a conflict of interest, that conflict must be weighed as a ‘facto[r]

in determining whether there is an abuse of discretion.’” /d. at 115. (Emphasis
added.)

Here, as argued in Plaintiff's Opening Brief, the WAP is completely silent as
to the contingency of an employee’s termination without cause, i.e., involuntary lay-
offs and reductions in force. While the WAP speaks to the vesting and distributions
of Company Contributions upon an employee’s separation from RBC due to death,
disability, retirement, termination for cause, and “restructuring” (which is not even
defined), a huge gap exists as to termination without cause.

As the RBC employees who were charged with the WAP’s administration were
the same employees who were responsible for the WAP’s enforcement and the hiring
and firing of RBC employees, there were no checks or balances in place to ensure that
the Committee members did not abuse their discretion in denying WAP benefits to
participants such as Plaintiff. This is particularly troubling inasmuch as there is no
language in the WAP addressing the vesting and distribution of WAP benefits where
an employee is terminated without cause. It is one thing to require an employee to be
employed at the time of vesting, but quite another to terminate an employee without
cause, so as to deprive the employee of a benefit. Plaintiff submits that a conflict of
interest existed in that the WAP was deliberatively and purposefully silent on the
issue so that when employees like Plaintiff were just months away from their vesting
and distribution date, RBC was free to terminate such employees without having to
pay any benefits.

As the Ninth Circuit held in Abatie v. Alta Health & Life Ins. Co., 458 F.3d 955

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PLAINTIFF’S REPLY BRIEF RE: ERISA ISSUES

 

 
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08-cv-06090-FMC-AGR Document 43 Filed 08/05/09 Page 9 of 31 Page ID #:528

(9th Cir. 2006), “to the extent that [the administrator] has discretion to avoid paying
claims, it thereby promotes the potential for its own profit.” Jd. at 967; Brown v. Blue
Cross & Blue Shield of Ala., Inc., 898 F.2d 1556, 1561 (11th Cir. 1990) (an
administrator’s role as a fiduciary role lies in conflict with its role as a profit-making
entity). When a pension plan is controlled by the employer — or in this case, a
committee of personnel charged with controlling the plan — “there is always an
incentive for the employer/administrator to deny benefits.” Miller v. Eichleay
Engineers, Inc. 886 F.2d 30, 33-34 (3d Cir. 1989).

In Abatie, the court stated that “a conflicted administrator ... may find it
advisable to bring forth affirmative evidence that any conflict did not influence its
decision-making process.” Abatie, supra, 458 F.3d at 969. However, as will be
shown below, RBC has completely gone out of its way to withhold affirmative
evidence that any conflict did not influence its decision-making process — namely, the
minutes of the WAP Committee relating to Plaintiff's denial of benefits.

Given that a conflict of interest exists, Plaintiff respectfully requests that the
Court weigh the conflict as a factor in its abuse of discretion standard of review.

Il, EVEN UNDER THE MODIFIED STANDARD FO REVIEW, THE

COURT CANNOT REVIEW _THE ADMINISTRATIVE RECORD FOR

AN_ ABUSE OF DISCRETION BECAUSE RBC HAS REFUSED TO

PRODUCE THE WAP COMMITTEE MINUTES

RBC states that as the WAP Committee was vested with discretionary authority
to make decisions under the plan, “The court’s only role is to review the plan
administrator’s decision for an abuse of discretion.” (See MSJ 9:5-9.)

RBC goes on to state that an abuse of discretion can only be found if “the
administrator relied on ‘clearly erroneous findings of facts in making benefit
determinations’” and that “the administrator’s decision will be affirmed, as long as
there is ‘substantial evidence to support the decision[.]’” (See MSJ 9:5-9; 22-25.)
RBC continues in pertinent part:

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PLAINTIFF’S REPLY BRIEF RE: ERISA ISSUES

 
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)8-cv-O6090-FMC-AGR Document 43 Filed 08/05/09 Page 10 of 31 Page ID #:529

“(T]he Committee correctly determined the relevant facts”
and “[nfothing in the facts presented to the Committee
supported a determination that Benhayon was entitled to vest
in the Company Contributions in his WAP account. To the
contrary, the factual record presented to the Committee fully
supported its decision to decline to accelerate the vesting of
the Company Contributions in Benhayon’s WAP account.”

(See MSJ 10:6-8; 11:17-22.)

Here, the WAP Committee was the WAP’s administrator. While RBC is
adamant that the Committee did not abuse its discretion in relying on the facts before
it, RBC is inexplicably withholding the exact Committee minutes that encapsulate all
“substantial evidence” that the Committee purportedly considered to support its
decision regarding Plaintiff’s denial of benefits.” Without bringing these Committee
minutes to light, both this Court and Plaintiff will be in the dark as to whether or not
the Committee relied on “clearly erroneous findings of fact” in making its decision to
deny Plaintiff’s benefits.

RBC cannot be allowed to hold us and hit us at the same time. On the one
hand, RBC wants this Court to enter summary judgment in its favor, finding that the
Committee did not abuse its discretion in making its decision to deny the accelerated
vesting and distribution of Plaintiff's benefits. On the other hand, RBC refuses to
produce the very minutes reflecting the Committee’s decision. RBC cannot have it
both ways. This is especially significant when RBC, itself, claims that the WAP
Committee has “the full power and sole discretionary authority to make all
determinations provided for in the Plan.” (See MSJ 10:13-14.)

 

*Plaintiff notes that RBC delayed for nearly two months in agreeing to and finally producing
a protective order, which forestalled Plaintiff from obtaining necessary discovery. RBC’s
delay caused the initial ERISA briefing schedule which was originally set for June 30, 2009
(for simultaneous “Opening Briefs”) and July 30, 2009 (for simultaneous “Reply Briefs”), to
be continued. Even after Plaintiff signed the protective order, RBC séill refused to produce
un-redacted versions of the Committee minutes.

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PLAINTIFF’S REPLY BRIEF RE: ERISA ISSUES

 

 
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N8-cv-O6090-FMC-AGR Document 43 Filed 08/05/09 Page 11 of 31 Page ID #:530

Absent an opportunity to review each document, all facts, and all relevant
evidence that the Committee purportedly reviewed and considered in formulating its
determination regarding the denial of Plaintiff’s benefits, the Court will be forced to
impermissibly rule in a vacuum. For this very reason, under Anderson v. Liberty
Lobby, Inc., supra, summary judgment must be denied. Jd. at 250 n. 5.

IV. RBC FAILS TO MEET ITS BURDEN OF PROOF AS TO_ITS
AFFIRMATIVE DEFENSE THAT THE WAP IS A “TOP HAT” PLAN
UNDER ERISA
On January 13, 2009, RBC raised the affirmative defense that Plaintiff’s claims

are barred, in whole or in part, because the WAP is not subject to the provisions of

ERISA. Further, in its MSJ, RBC states that the WAP is a “top hat” plan under

ERISA, and that “because of the unique limitations on participation (to select and

highly compensated employees), top hat plans are exempt from many of ERISA’s

mandates, including its participation, vesting, funding, and fiduciary provisions.”

(See MSJ 13:3; 19-25.) A “top hat” plan is an employee benefit plan “that is

unfunded and is maintained by an employer primarily for the purpose of providing

deferred compensation for a select group of management or highly compensated

employees.” 29 U.S.C. §§ 1051(2), 1081(a)(3), 1101(a)(1).

It is well settled that the party that raises an affirmative defense has the burden
of proving it. Fed.R.Civ.Proc. 8(c); see, e.g., Goodman vy. Praxair, Inc., 494 F.3d
458, 464 (4th Cir. 2007). As shown below, RBC has not met and cannot meet its
burden of proving that the WAP is a top hat plan.

A. RBC Fails To Demonstrate Specific Facts That The WAP Was

“Unfunded.”

RBC argues that the benefits under the WAP are “unfunded.” (See MSJ 13:7-
8.) As support for this proposition, RBC cites the Declaration of Gabriela Sikich,
which in turn cites sections 2.4 and 8.2 of the 2007 WAP Plan Document. (See MSJ
13:7-8.) Apart from making the statement in its MSJ and then citing to its 2007 WAP

8
PLAINTIFF’S REPLY BRIEF RE: ERISA ISSUES

 

 
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)8-cv-06090-FMC-AGR Document 43 Filed 08/05/09 Page 12 of 31 Page ID #:531

Plan Document, RBC states no outside facts whatsoever supporting its conclusory
assertion that the WAP is “unfunded.” This is significant inasmuch as the term
“unfunded” is a term of art in ERISA litigation.

In Miller v. Eichleay Engineers, supra, the court held that an “unfunded” plan
is a plan in which “every dollar provided in benefits is a dollar spent by ... the
employer.” Id. at 33-34. (Emphasis added.) In Crumley v. Stonhard, Inc., 920
F.Supp. 589 (D.C. N.J. 1996), the court held that an “unfunded” plan is defined as “a
plan in which only the employer provides the necessary funding for the benefits under
the plan.” Jd. at 592-93. (Emphasis added.)

RBC provides no facts whatsoever to satisfy the definition of “unfunded” in
Miller or Crumley. To the contrary, RBC admits that the WAP is made up of both
Company Contributions as well as participants’ contributions in the form of
“Voluntary Deferred Compensation” and “Mandatory Deferred Compensation.” (See
MSJ 3:15-21; 4:27-5:10.) As Plaintiff, himself, contributed funds that were not a part
of RBC’s general assets, the WAP is certainly not “unfunded” under the Miller and
Crumley standards.

B. RBC Fails To Demonstrate Specific Facts That The WAP Covered A

“Select Group” Of Sales Employees.
In In re New Valley Corporation, 89 F.3d 143, 148 (3d Cir. 1996) the court

held that a “select group” for purposes of a top hat exemption:

“[H]as both quantitative and qualitative restrictions. In
number, the plan must cover relatively few employees. In
character, the plan must cover only high level employees.
Because of these limitations, top hat plans form a rare sub-
species of ERISA plans, and Congress created a special
regime to cover them.”

Id. at 148.

Quantitatively, the WAP covered One Thousand Two Hundred (1,200) U.S.

sales employees. (See AA 09.) As argued in Plaintiff's Opening Brief, this figure is

9
PLAINTIFF’S REPLY BRIEF RE: ERISA ISSUES

 

 

 
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()8-cv-O6090-FMC-AGR Document 43 Filed 08/05/09 Page 13 of 31 Page ID #:532

clearly too large to constitute a “select group” of RBC employees who participated in
the WAP. RBC does not address this issue anywhere in their MSJ.

Qualitatively, the WAP participants, including Plaintiff, do not meet the
standard set forth in Carrabba v. Randalls Food Markets, Inc., 38 F.Supp.2d 468
(N.D. Tex. 1999) to constitute a “select group.” In Carrabba, the court held a group
of plan participants is a “select group” if each of the members of the group has the
bargaining power to substantially influence the benefits, terms, and operation of the
plan. Id. at 476.

Here, each of the WAP participants, including Plaintiff was not an executive of
RBC; rather, the RBC U.S. sales force was made up of mere employees who did not
have the requisite bargaining power to substantially influence the benefits, terms, and
operation of the WAP.

As RBC fails to demonstrate the WAP covered a “select group” as defined
above, the WAP was not a top hat plan exempted from ERISA.

Vv. AS THE 2007 WAP PLAN DOES NOT CONTAIN AN INTEGRATION

CLAUSE, IT IS NOT THE FINAL AGREEMENT OF THE PARTIES,

AND DOES NOT SUPERCEDE THE 2003 WAP PLAN

RBC bases its entire MSJ on the terms, conditions, and language of the 2007
WAP Plan. However, this is error, because the 2007 WAP Plan does not contain a
merger clause or integration clause stating that it constitutes the final agreement of all
parties and supercedes all other WAP Plans — including the 2003 WAP Plan.

This is a critical point in that when Plaintiff first participated in the WAP, he
relied on the terms of the 2003 WAP Plan. Importantly, the 2003 WAP defined the
term “Separation” as “the date of a Plan Participant’s separation of employment from
the Company.” (See SAA 0059.) With respect to employees who “separated” from
RBC prior to the scheduled distribution date, the WAP provided as follows:

“Distributions. Upon electing to participate in the Plan, a
participant will make an irrevocable election with respect to the
timing of the payment of the amounts credited to such

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PLAINTIFF’S REPLY BRIEF RE: ERISA ISSUES

 

 

 
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)8-cv-O6090-FMC-AGR Document 43 Filed 08/05/09 Page 14 of 31 Page ID #:533

participant’s accounts. A participant may elect to have such
distribution made either (i) upon the earlier of a specified date
(which date must fall on the last day of a calendar quarter;
provided that, any distribution shall be made prior to the last
day of a calendar quarter if such distribution would result in
payments to a participant in more than one calendar year) or the
date of his ... Separation if prior to such specified date, or (ii)
upon such Separation.

[1]f the employee is no longer with RBC at the date of the
scheduled distribution, such distribution shall be in two
annual installments if the election is triggered by the
participant’s Separation prior to the date certain.

Upon Separation, the first installment shall be equal to 50% of
all amounts deemed allocated to a participant’s accounts on the
first payment date, and the second installment shall be equal to
the remainder of all amounts deemed allocated to such
participant’s accounts on the second payment date[.]”

(See SAA 0062.) (Emphasis added.)

Pursuant to the foregoing provision, on Plaintiffs date of separation from RBC
on September 17, 2007, he was entitled to accelerated vesting and distribution
provided that he had not forfeited such entitlement. As to the issue of forfeiture, the
2003 WAP Plan provides:

“Forfeiture of Matching Contributions and Other Amounts.
If a participant ceases to be employees by RBC ... due to his
... gross or willful misconduct during the course of his ...
employment, including theft or commission of a gross
misdemeanor or felony, all deemed investments credited to
any Matching Stock Account or Matching Cash Account, any
Special Deferred Compensation amount, and all Mandatory
Deferred Compensation ... will be forfeited, regardless of
whether the vesting schedule has otherwise been satisfied with
respect to any shares, or assets and the proceeds thereof will
be deemed returned to the Company. Also, all amounts
credited to a participant’s Matching Stock Account or
Matching Cash Account, and Special Deferred Compensation

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PLAINTIFF’S REPLY BRIEF RE: ERISA ISSUES

 

 

 
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)8-cv-O6090-FMC-AGR Document 43 Filed 08/05/09 Page 15 of 31 Page ID #:534

amount, and all Mandatory Deferred Compensation ... that are
not vested at the participant’s employment termination date
will be forfeited, except as otherwise described under
‘Vesting’ above.”

(See SAA 00062.) (Emphasis added.)

It is undisputed herein that Plaintiff was not terminated for gross or willful
misconduct during his employment with RBC. Rather, Plaintiff was arbitrarily
terminated due to a reduction in force. As there is no recognized exception to
accelerated vesting upon an employee’s separation from RBC employment due to
termination without cause, Plaintiff is entitled to the distribution of his due benefits.
VI. PLAINTIFF REITERATES ITS REQUEST THAT THIS COURT

EITHER DENY RBC’S MOTION, OR GRANT HIM A CONTINUANCE

TO ENABLE PLAINTIFF TO PRESENT FACTS ESSENTIAL TO ITS

OPPOSITION

Federal Rules of Civil Procedure, Rule 56(f), provides:

 

“If a party opposing the motion shows by affidavit that, for
specified reasons, it cannot present facts essential to justify its
opposition, the court may:

(1) deny the motion;

(2) order a continuance to enable affidavits to be obtained,
depositions to be taken, or other discovery to be
undertaken; or

(3) issue any other just order.”

In Anderson v. Liberty Lobby, Inc. (1986) 477 U.S. 242, 106 S.Ct. 2505, 91
L.Ed.2d 202, the U.S. Supreme Court held that under Rule 56(f), “summary judgment
[is to] be refused where the non-moving party has not had the opportunity to discover
information that is essential to his opposition.” Jd. at 250 n. 5.

The Ninth Circuit follows the same reasoning. In California vy. Campbell, 138
F.3d 772 (9th Cir. 1998), the court held that pursuant to Rule 56(f), a district court

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PLAINTIFF’S REPLY BRIEF RE: ERISA ISSUES

 

 

 
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should continue a summary judgment motion upon a good faith showing that the
continuance is needed to obtain facts essential to preclude summary judgment. /d. at
779 citing McCormick v. Fund American Cos., Inc., 26 F.3d 869, 885 (9th Cir. 1994).
Parties requesting a continuance pursuant to Rule 56(f) must show (1) that they have
set forth in affidavit form the specific facts that they hope to elicit from further
discovery, (2) that the facts sought exist, and (3) why the sought-after facts would
preclude summary judgment. Tatum v. City & County of San Francisco, 441 F.3d
1090, 1100 (9th Cir. 2006).

Requests for continuances under Rule 56(f) are construed and granted liberally.
See Doe v. Abington Friends Sch., 480 F.3d 252, 257 (3d Cir. 2007); Culwell v. City
of Fort Worth, 468 F.3d 868, 871 (Sth Cir. 2006). Indeed, when Rule 56(f) affidavit
preconditions are met, “a strong presumption arises in favor of relief.’ Simas v.
First Citizens’ Fed. Credit Union, 170 F.3d 37, 46 n. 4 (1st Cir. 1999). (Emphasis
added.)

As set forth more fully in ‘the declaration of Kari M. Myron (the “Myron
Declaration”), Plaintiff has scheduled the deposition of RBC’s Person(s) Most
Knowledgeable (“PMK”), The PMK deposition is currently scheduled for August 31,
2009, which is beyond the date of Plaintiff’s deadline to oppose RBC’s MSJ.

Plaintiff seeks testimony from RBC’s PMK regarding issues surrounding: the
administration, management, and operation of the WAP; the vesting and distribution
of WAP benefits; how the WAP Committee made its decisions regarding the vesting
and distribution of WAP benefits while the WAP was in effect; and how the WAP
Committee informed the WAP participants of the terms, conditions, and provisions of
the WAP. (See Myron Declaration.) Additionally, Plaintiff served a Request for
Production of Documents at the PMK Deposition, all categories of which relate to the
specific categories set forth in designating the PMK and all areas addressing pivotal
issues before the court, to wit: (1) is the WAP a top hat plan thus exempted from
compliance with ERISA; (2) whether the WAP covers a “select group” of employees;

13
PLAINTIFEF’S REPLY BRIEF RE: ERISA ISSUES

 

 

 
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(3) whether the WAP is “unfunded;” and (4) whether the WAP set up in bad faith in
that it failed to address the vesting and distribution of WAP benefits upon a
participant’s termination without cause. (See Myron Declaration.)

It must be noted that the PMK deposition and the attendant production request
are absolutely critical to enable Plaintiff to adequately oppose RBC’s MSJ because
RBC has wholly refused to produce the contents of its WAP Committee minutes
concerning the denial of the vesting and distribution of Plaintiff's WAP benefits.’

As the Administrative Record reflects, in response to Plaintiff's request for
production of documents concerning the WAP Committee’s denial and forfeiture of
his benefits, RBC produced a single-page document entitled “RBC US Wealth
Accumulation Plan (“WAP”) Committee, April 7, 2008, Re: Mr. Steven Behnhayon
v. RBC Capital Markets Holdings (USA) Inc.” (AA 303.) This document contains a
paragraph regarding the “Background” of the matter, a paragraph regarding the
“Current Status” of the matter, and a paragraph regarding entitled

“Recommendation.” The “Recommendation” paragraph provides in full:

“To follow the WAP plan document the recommendation is to
deny the request for accelerated vesting and distribution.
Under section 4.4 “Termination due to Restructuring” In (sic)
the event a participant ceases to be employed by the Company
due to an organizational restructuring all Mandatory Deferred
Compensation in such participant’s account shall become
vested. There are no provisions in the plan document to
provide for accelerated vesting on company contributions or

 

*This refusal to produce is a product of RBC’s ongoing failure to abide by the discovery
process. Indeed, RBC frustrated and protracted the discovery process by demanding
unreasonably heightened protection in its protective order would not produce certain records
until and unless such records were designated as “attorneys’ eyes only.” Despite RBC’s
demand for unreasonably heightened protection, it still refused to produce the minutes of the
WAP Committee and instead produced 24 pages of blank pages marked “REDACTED” and
“CONFIDENTIAL.” As of the date of this writing, RBC has still refused to produce a
privilege log required by FRCP Rule 26(b)(5) concerning the multitude of privileges it
asserted to several of Plaintiff’ s production requests.

14
PLAINTIFE’S REPLY BRIEF RE: ERISA ISSUES

 
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company match.”

(AA 303.)

After this single-page document, there are 24 blank pages of the WAP
Committee’s minutes stamped “REDACTED” and “CONFIDENTIAL” without
further explanation. (AA 304-327.) Because of RBC’s redactions, the Committee
minutes, which are absolutely critical to the issue of the Committee’s abuse of
discretion, are wholly devoid of evidence relevant to the Committee’s discussion
regarding Plaintiff's wrongful denial of benefits. Thus, testimony from the PMK
deposition is necessary to answer the following questions, among others: Who on the
Committee made the decision to deny Plaintiff's benefits? Did the same people on the
Committee also have any input or influence in which sales employees were
terminated when the Committee first learned that RBC was going to be reducing its
U.S. work force? How did the Committee come to its determination to deny Plaintiff
his benefits? What methods, procedures, and types of voting were used to make the
decision? What documents were provided to the Committee for purposes of
evaluating the relief requested? Who selected these documents? Who presented
Plaintiff’s case?

Further, as RBC raises as an affirmative defense that the WAP was a top hat
plan, it is necessary to examine the PMK as to the elements of the top hat definition
under ERISA, namely — How did the Committee define a “select group” to be
covered by the WAP? What percent of RBC’s Fixed Income Capital Markets sales
work force was invited to participate in the WAP? What percent of RBC’s Fixed
Income Capital Markets sales work force actually participated in the WAP? What
were the methods by which the Committee deemed the WAP to be “unfunded” as it
claims, despite the fact that Plaintiffs contributions did not come from RBC’s general
assets? How did RBC maintain employee and company contributions to the WAP,
i.€., were such contributions held in trust and secured from creditors, or were they

part of RBC’s general assets and thus unsecured? If the company contributions were

15
PLAINTIFF’S REPLY BRIEF RE: ERISA ISSUES

 

 

 
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)8-cv-O6090-FMC-AGR Document 43 Filed 08/05/09 Page 19 of 31 Page ID #:538

 

 

indeed unsecured, were the participating employees informed of this? These
questions are all critical to whether a top hat plan exists. Further, these are all
questions that RBC has failed to answer or address in its MSJ. As these ERISA
issues have gone unanswered by RBC, what was the focus of RBC’s MSJ?

Given the fact that RBC refuses to unveil the Committee minutes that reflect
the Committee’s rationale in deciding to deny Plaintiff the vesting and distribution of
his WAP benefits, along with the fact that the deposition of RBC’s PMK is scheduled
after the deadline for the simultaneous Reply Briefs herein, a continuance of RBC’s
MSJ under Rule 56(f) is justified as the anticipated discovery will be fruitful and
certainly aid Plaintiff in opposing the motion.

Vil. RBC’S MOTION IS PROCEDURALLY DEFECTIVE AS RBC HAS

FAILED TO FOLLOW THE FEDERAL AND LOCAL RULES

In order to file a motion for summary judgment, the moving party must comply
with the Federal Rules as weil as the Central District’s Local Rules. Here, RBC filed
its MSJ without complying with either. As such, RBC’s MSJ is defective and must
be overruled.

A. RBC Failed To Designate A Hearing Date For Its Motion.

Federal Rules of Civil Procedure, Rule 56(c) provides:

“Serving the Motion; Proceedings. The motion must be
served at least 10 days before the day set for the hearing.
An opposing party may serve opposing affidavits before the
hearing day. The judgment sought should be rendered if the
pleadings, the discovery and disclosure materials on file, and
any affidavits show that there is no genuine issue as to any
material fact and that the movant is entitled to judgment as a
matter of law.”

Fed.R.Civ.Proc. 56(c). (Emphasis added.)
The purpose of this 10-day notice rule is to allow non-moving parties a specific
period of time in which to marshal their resources and offer into the summary

judgment record additional materials and arguments. See Restigouche, Inc. v. Town

16
PLAINTIFF’S REPLY BRIEF RE: ERISA ISSUES

 
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of Jupiter, 59 F.3d 1208, 1213 (11th Cir. 1995). The 10-day notice rule allows a non-
moving party time to “put its best foot forward” in opposing the motion. United
States v. Houston Pipeline Co., 37 F.3d 224, 228 (5th Cir. 1994). Moreover, the 10-
day notice rule is an essential and mandatory component of the Rule, and not a
mere technicality. See Smith v. School Bd. of Orange County, 487 F.3d 1361, 1367-
68 (11th Cir. 2007); Celestine v. Petroleos de Venezuella SA, 266 F.3d 343, 350 (Sth
Cir. 2001); Beaird v. Seagate Tech., Inc., 145 F.3d 1159, 1165 (10th Cir. 1998),
Employers Ins. of Wausau v. Petroleum Specialties, Inc., 69 F.3d 98, 105 (6th Cir.
1995). (Emphasis added.)

Local Rule 7-4 provides in part that: “On the first page of the notice of motion
... there shall be included ... the date and time of the motion hearing[.]” “The
Court may decline to consider the motion” unless it meets this requirement. L.R. 7-4.
(Emphasis added.)

Likewise, Local Rule 7-9 mandates that the opposing party shall serve its
opposition “not later than fourteen (14) days before the date designated for the
hearing of the motion.” L.R. 7-9. (Emphasis added.)

As emphasized, both the federal and the local rules contemplate the moving
party’s designation of a hearing date in order to set an opposition deadline.

Here, RBC failed to designate a hearing date for its MSJ. In so doing, RBC has
deprived Plaintiff of proper notice for serving and filing its opposition papers. As the
10-day notice rule is an essential and mandatory component of the Rule, and not a
mere technicality, the Court should overrule RBC’s MSJ as being procedurally
defective, or, as argued above, continue the MSJ to allow Plaintiff adequate notice
time to properly oppose the MSJ.

B. RBC Failed To Meet And Confer With Plaintiff’s Counsel Prior To

Filing The Motion.

RBC filed its MSJ without meeting and conferring with Plaintiff’s counsel in

advance of filing the MSJ. Local Rule 7-3 “Conference of Counsel Prior to Filing of

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PLAINTIFF’S REPLY BRIEF RE: ERISA ISSUES

 
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8-cv-06090-FMC-AGR Document 43. Filed 08/05/09 Page 21 of 31 Page ID #:540

Motions” provides in pertinent part:

“[C]ounsel contemplating the filing of any motion shall first
contact opposing counsel to discuss thoroughly...the
substance of the contemplated motion and any potential
resolution.... [T]he conference shall take place at least twenty
(20) days prior to the filing of the motion.”

Here, Defense counsel did not contact Plaintiff's counsel at any time prior to
filing the MSJ. Had Defense counsel met and conferred with Plaintiffs counsel as
required under Local Rule 7-3, Plaintiff's counsel could have at least anticipated the
MSJ and taken steps to adequately oppose it.

Given the foregoing, the Court should overrule RBC’s MSJ as it wholly fails
to comport with both the Federal Rules of Civil Procedure as well as this Court’s
Local Rules.

VOI. CONCLUSION

Based on the foregoing, Plaintiff STEVEN BENHAYON respectfully requests
that this Court find that: the WAP is not a top hat plan; the 2007 WAP was not a full
an final integration of the entire WAP agreement — such that the provisions, terms,
and conditions of the 2003 WAP Plan control in this matter; and that the WAP was
set up in bad faith to prevent or frustrate Plaintiff's entitlement to the vesting and
distribution of benefits due to him under the WAP because it specifically omitted and
failed to address the issue of a participant’s vesting and distributions upon termination
without cause.

Reviewing the MSJ, it is abundantly evident that RBC has failed to set forth
specific, non-conclusory facts that the WAP is a top hat plan. The Court gave the
parties the opportunity to resolve this issue by ordering the simultaneous briefing of
the issue. RBC has not met its burden of proving its affirmative defense that the
WAP is a top hat plan.

As RBC has conceded that the WAP is an ERISA plan for purposes of this
litigation, and as RBC has failed to meet its burden in showing the WAP was a top

18
PLAINTIFF’S REPLY BRIEF RE: ERISA ISSUES

 

 

 
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hat plan, Plaintiff respectfully requests that this Court deny RBC’s MSJ and proceed
in ruling on the ERISA issues herein in accordance with the rules and regulations set
forth under ERISA.

 
  

DATED: August’) ,2009 BOHM, EL & AGUILERA, LLP

By:

 

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Karl M. Myfon
Matthew J. Salcedo,

Attorneys for Plaintiff STEVEN
BENHAYON

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PLAINTIFEF’S REPLY BRIEF RE: ERISA ISSUES

 

 

 
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DECLARATION OF KARI M. MYRON IN SUPPORT OF REQUEST FOR
RELIEF UNDER FED.R.CIV.PROC. § 56(f)

1, Kari M. Myron, hereby declare as follows:

l. I am an attorney at law duly licensed to practice before all courts of the
State of California and the United States District, Central District of California. I am
a partner of the law firm of Bohm, Matsen, Kegel & Aguilera, LLP, which represents
Plaintiff STEVEN BENHAYON in this matter. J make this Declaration based upon
my own personal knowledge, except as to those matters which are stated on
information and belief and as to those matters I believe them to be true. If called and
sworn as a witness, I could and would competently testify to the following.

2. Plaintiff has scheduled the deposition of RBC’s Person(s) Most
Knowledgeable (“PMK”). The PMK deposition is currently scheduled for August 31,
2009, which is beyond the date of Plaintiff's deadline to oppose RBC’s MSJ.

3. On July 22, 2009, RBC filed a Motion for Partial Summary Judgment
(“MSJ”) as to some of the ERISA issues herein.

4, RBC filed the MSJ without complying with Local Rule 7-4, which
provides in part that: “On the first page of the notice of motion ... there shall be
included ... the date and time of the motion hearing.|” “The Court may decline to
consider the motion” unless it meets this requirement. L.R. 7-4. (Emphasis added.)

5. RBC filed the MSJ without complying with Local Rule 7-9, which
mandates that the opposing party shall serve its opposition “not later than fourteen
(14) days before the date designated for the hearing of the motion.” L.R. 7-9.
(Emphasis added.)

6. RBC failed to designate a hearing date for its MSJ. In so doing, RBC
has deprived Plaintiff of proper notice for serving and filing its opposition papers. As
the 10-day notice rule is an essential and mandatory component of the Rule, and not

a mere technicality.

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PLAINTIFF’S REPLY BRIEF RE: ERISA ISSUES

 

 

 
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7. RBC filed the MSJ without complying with Local Rule 7-3, which
provides that “[C]ounsel contemplating the filing of any motion shall first contact
opposing counsel to discuss thoroughly...the substance of the contemplated motion
and any potential resolution.... [T]he conference shall take place at least twenty (20)
days prior to the filing of the motion.”

8. Defense counsel did not contact me at any time prior to filing the MSJ.
Had Defense counsel met and conferred with me as required under Local Rule 7-3,
the issues and arguments sought to be raised by RBC would have been known so as to
take steps to adequately oppose them.

9. In addition to the foregoing issues, I prepared and forwarded a lengthy
(Twenty Nine Page) Meet and Confer Letter to Counsel for RBC on July 10", 2009,
outlining the deficiencies in the discovery responses provided by his client, especially
those responses surrounding the requests made concerning ERISA claim and the
absence of a privilege log given the multiple redacted pages produced despite a
comprehensive stipulation for a protective order.

10. Asaresult of RBC’s failure to comply with the foregoing rules, Plaintiff
was deprived of adequate notice time to properly oppose the MSJ.

11. Jam aware of the provisions of Federal Rules of Civil Procedure, Rule
56(f}, and make this declaration in support of a denial of RBC’s MSJ or a continuance
of the MSJ to enable the deposition of RBC’s PMK to be taken tn this matter as well
as the production of documents at the PMK deposition to occur.

12. [I anticipate testimony on the following subjects to be collected at the
PMK. deposition:

a. All aspects of the formation and design of the U.S. Wealth Accumulation
Plan (hereinafter “WAP”), including but not limited to issues related to
voluntary contribution components, mandatory contribution components,
employer matching components, and employer bonus components, as

well as issues relating to any and all actuarials, studies and projections

21
PLAINTIFF’S REPLY BRIEF RE: ERISA ISSUES

 

 
 

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1 regarding the feasibility of the WAP, and studies and projections
2 regarding the affordability of the WAP.
3 b. All aspects of the operation of the WAP, including but not limited to
4 issues related to voluntary contribution components, mandatory
5 contribution components, employer matching components, and employer
6 bonus components, as well as any and all revisions, amendments,
7 corrections, and restatements made to the WAP and all summaries
8 thereof for all years in which the WAP operated.
9 c. All aspects of the administration and management of the WAP, including
10 but not limited to issues related to day-to-day costs of the WAP’s
11 administration and management, day-to-day liabilities and/or obligations
12 of the WAP’s administration and management, as well as the
13 administration and management of all voluntary contribution
14 components, mandatory contribution components, employer matching
15 components, and employer bonus components under the WAP.
16 d. All aspects of the funding of the WAP, including but not limited to
17 issues related to the sources of the WAP’s funding such as the general
18 assets used to fund the WAP, if any, the voluntary contribution
19 components, mandatory contribution components, employer matching
20 components, and employer bonus components, and the segregation of the
21 voluntary contribution components, mandatory contribution components,
22 employer matching components, and employer bonus components of the
23 WAP.
24 e. All aspects of any distributions in years 2006, 2007, and 2008, of
25 voluntary contribution components, mandatory contribution components,
26 employer matching components, and employer bonus components,
27 pursuant to the vesting schedules relating to said years.
28 f. All aspects of any the number of participants in the WAP company-
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PLAINTIFF’S REPLY BRIEF RE: ERISA ISSUES

 

 

 
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08-cv-O6090-FMC-AGR Document 43 Filed 08/05/09 Page 26 of 31 Page ID #:545

wide, from year 2001 to year 2007, who participated in the WAP’s
voluntary contribution components, mandatory contribution components,
employer matching components, and employer bonus components,
pursuant to the vesting schedules relating to said years.

g. All aspects of how RBC instructed, explained, discussed, or otherwise
informed its Fixed Income Capital Market sales employees of the terms,
conditions, requirements and any other steps said sales employees had to
take in order for the vesting and distribution of voluntary contribution
components, mandatory contribution components, employer matching
components, and employer bonus components.

h. All aspects of how the WAP Committee reviewed, made decisions on,
considered, and determined any claims, demands, disputes or grievances
regarding the vesting, distribution, and forfeiture of voluntary
contribution components, mandatory contribution components, employer
matching components, and employer bonus components.

13. The testimony will most likely show that the WAP was not a top hat plan
in that it did not cover a “select group” of employees as mandated under ERISA and
in the case law, and that it was not an “unfunded” plan as mandated under ERISA and
in the case law.

14. The testimony will also most likely show that the WAP was set up in bad
faith in that the WAP Committee was aware that the WAP failed to address the issue
of benefit vesting and distribution upon an employee’s termination without cause, and
that in such case, the employee’s benefit’s would be forfeited. Despite this
knowledge, Defendants purposefully and deliberately omitted any provisions
regarding the issue of benefit vesting and distribution upon an employee’s termination
without cause.

15. The testimony will also most likely show that the 2007 WAP was not the

final agreement of the parties in that it did not have an integration clause expressly

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PLAINTIFF’S REPLY BRIEF RE: ERISA ISSUES

 
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stating that it superceded all former agreements, in particular, the 2003 WAP, which
Plaintiff relied upon when first signing up to participate in the WAP.

16. The testimony is critical to opposing RBC’s MSJ, and will preclude
summary judgment because of the following:

a. First, without top-hat exemption, the Court must treat the WAP as an
ERISA plan (and RBC has already conceded that it is). ERISA plans are
subject to fiduciary duties arising out of common law regarding trusts.
Thus, the Court will have to apply the common law regarding trusts to
the alleged ERISA violations rather than simply apply an abuse of
discretion standard to determine if the WAP Committee violated
Plaintiff's rights.

b. Second, in that there is no integration clause in the 2007 WAP, and that
the provisions of the 2003 WAP are completely different from the 2007
WAP, especially in terms of separation from the company and vesting
and distribution procedures, Defendants’ MSJ, which completely relies
on the terms of the 2007 WAP, will necessarily be meritless.

17. Indeed, RBC bases its entire MSJ on the terms, conditions, and language
of the 2007 WAP Plan. This is a critical point in that when Plaintiff first participated
in the WAP, he relied on the terms of the 2003 WAP Plan. Importantly, the 2003
WAP defined the term “Separation” as “the date of a Plan Participant’s separation of
employment from the Company.” (See SAA 0059.) With respect to employees who
“separated” from RBC prior to the scheduled distribution date, the WAP provided as

follows:

“Distributions. Upon electing to participate in the Plan, a
participant will make an irrevocable election with respect to the
timing of the payment of the amounts credited to such
participant’s accounts. A participant may elect to have such
distribution made either (i) upon the earlier of a specified date
(which date must fall on the last day of a calendar quarter;
provided that, any distribution shall be made prior to the last

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PLAINTIFF’S REPLY BRIEF RE: ERISA ISSUES

 

 
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}:08-cv-06090-FMC-AGR Document 43 Filed 08/05/09 Page 28 of 31 Page ID #:547

day of a calendar quarter if such distribution would result in
payments to a participant in more than one calendar year) or the
date of his ... Separation if prior to such specified date, or (ii)
upon such Separation.

[I]f the employee is no longer with RBC at the date of the
scheduled distribution, such distribution shall be in two
annual installments if the election is triggered by the
participant’s Separation prior to the date certain.

Upon Separation, the first installment shall be equal to 50% of
all amounts deemed allocated to a participant’s accounts on the
first payment date, and the second installment shall be equal to
the remainder of all amounts deemed allocated to such
participant’s accounts on the second payment date[.]’(See SAA
0062.) (Emphasis added.)

Pursuant to the foregoing provision, on Plaintiff's date of separation from RBC
on September 17, 2007, he was entitled to accelerated vesting and distribution
provided that he had not forfeited such entitlement.

18. As to the issue of forfeiture, the 2003 WAP Plan provides:

“Forfeiture of Matching Contributions and Other Amounts.
If a participant ceases to be employees by RBC ... due to his
... gross or willful misconduct during the course of his ...
employment, including theft or commission of a gross
misdemeanor or felony, all deemed investments credited to
any Matching Stock Account or Matching Cash Account, any
Special Deferred Compensation amount, and all Mandatory
Deferred Compensation ... will be forfeited, regardless of
whether the vesting schedule has otherwise been satisfied with
respect to any shares, or assets and the proceeds thereof will
be deemed returned to the Company. Also, all amounts
credited to a participant’s Matching Stock Account or
Matching Cash Account, and Special Deferred Compensation
amount, and all Mandatory Deferred Compensation ... that are
not vested at the participant’s employment termination date
will be forfeited, except as otherwise described under
‘Vesting’ above.” (See SAA 00062.) (Emphasis added.)

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PLAINTIFE’S REPLY BRIEF RE: ERISA ISSUES

 

 

 
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(08-cv-06090-FMC-AGR Document 43 Filed 08/05/09 Page 29 of 31 Page ID #:548

19. It is undisputed herein that Plaintiff was not terminated for gross or
willful misconduct during his employment with RBC. Rather, Plaintiff was arbitrarily
terminated due to a reduction in force.

20. As there is no recognized exception to accelerated vesting upon an
employee’s separation from RBC employment due to termination without cause in the
2003 WAP, Plaintiff will show that he is entitled to the distribution of his due
benefits.

21. Given the filing of RBC’s MSJ without proper notice requirements, |
have been prevented the opportunity to discover information that is essential to
Plaintiff's opposition to the MSJ.

22. The Court should continue the MSJ herein because such a continuance is
needed to obtain facts essential to preclude summary judgment.

23. The PMK deposition and the attendant production request are absolutely
critical to enable Plaintiff to adequately oppose RBC’s MSJ because RBC has wholly
refused to produce the contents of its WAP Committee minutes concerning the denial
of the vesting and distribution of Plaintiff's WAP benefits. This refusal to produce is
a product of RBC’s ongoing failure to abide by the discovery process. Indeed, RBC
frustrated and protracted the discovery process by demanding unreasonably
heightened protection in its protective order would not produce certain records until
and unless such records were designated as “attorneys’ eyes only.” Despite RBC’s
demand for unreasonably heightened protection, it still refused to produce the minutes
of the WAP Committee and instead produced 24 pages of blank pages marked
“REDACTED” and “CONFIDENTIAL.” As of the date of this writing, RBC has still
refused to produce a privilege log required by law concerning the multitude of
privileges it asserted to several of Plaintiff's production requests.

24. As the Administrative Record reflects, in response to Plaintiff's request
for production of documents concerning the WAP Committee’s denial and forfeiture
of his benefits, RBC produced a single-page document entitled “RBC US Wealth

26
PLAINTIFF’S REPLY BRIEF RE: ERISA ISSUES

 

 

 
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(08-cv-O6090-FMC-AGR Document 43 Filed 08/05/09 Page 30 of 31 Page ID #:549

Accumulation Plan (“WAP”) Committee, April 7, 2008, Re: Mr. Steven Behnhayon
v. RBC Capital Markets Holdings (USA) Inc.” (AA 303.) This document contains a
paragraph regarding the “Background” of the matter, a paragraph regarding the
“Current Status” of the matter, and a paragraph regarding entitled

“Recommendation.” The “Recommendation” paragraph provides in full:

“To follow the WAP plan document the recommendation is to
deny the request for accelerated vesting and distribution.
Under section 4.4 “Termination due to Restructuring” In (sic)
the event a participant ceases to be employed by the Company
due to an organizational restructuring all Mandatory Deferred
Compensation in such participant’s account shall become
vested. There are no provisions in the plan document to
provide for accelerated vesting on company contributions or
company match.” (AA 303.)

25. After this single-page document, there are 24 blank pages of the WAP
Committee’s minutes stamped “REDACTED” and “CONFIDENTIAL.” (AA 304-
327.) Because of RBC’s redactions, the Committee minutes, which are absolutely
critical to the issue of the Committee’s abuse of discretion, are wholly devoid of
evidence relevant to the Committee’s decision regarding Plaintiffs denial of benefits.
Thus, testimony from the PMK deposition is necessary to answer the following
questions, among others: Who on the Committee made the decision to deny
Plaintiff's benefits? Did the same people on the Committee also have any input or
influence in which sales employees were terminated when the Committee first learned
that RBC was going to be reducing its U.S. work force? How did the Committee
come to its determination to deny Plaintiff his benefits? What methods, procedures,
and types of voting were used to make the decision?

26. Further, as RBC raises as an affirmative defense that the WAP was a top
hat plan, it is necessary to examine the PMK as to the elements of the top hat

definition under ERISA, namely — How did the Committee define a “select group” to

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PLAINTIFF’S REPLY BRIEF RE: ERISA ISSUES

 

 

 
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(08-cv-O6090-FMC-AGR Document 43 Filed 08/05/09 Page 31 of 31 Page ID #:550

be covered by the WAP? What percent of RBC’s Fixed Income Capital Markets
sales work force was invited to participate in the WAP? What percent of RBC’s
Fixed Income Capital Markets sales work force actually participated in the WAP?
What were the methods by which the Committee deemed the WAP to be “unfunded”
as it claims, despite the fact that Plaintiff's contributions did not come from RBC’s
general assets? How did RBC maintain employee and company contributions to the
WAP, i.c., were such contributions held in trust and secured from creditors, or were
they part of RBC’s general assets and thus unsecured? If the company contributions
were indeed unsecured, were the participating employees informed of this? These
questions are all critical to whether a top hat plan exists. Further, these are all
questions that RBC has failed to answer or address in its MSJ. As these ERISA
issues have gone unanswered by RBC, what was the focus of RBC’s MSJ?

27. Given the fact that RBC refuses to unveil the Committee minutes that
reflect the Committee’s rationale in deciding to deny Plaintiff the vesting and
distribution of his WAP benefits, along with the fact that the deposition of RBC’s
PMK is scheduled after the deadline for the simultaneous Reply Briefs herein, a
continuance of RBC’s MSJ under Rule 56(f) is justified as the anticipated discovery
will be fruitful and certainly aid Plaintiff in opposing the motion.

 
 
    
 

28. Ifa continuance is not granted, Plaintiff will be irreparably harmed
will be deprived of justly opposing RBC’s MSJ.
I declare under penalty of perjury under the laws of the State of Cafifornia and
the United States of America that the foregoing is true and correcf/ Executed on

August 5, 2009 at Costa Mesa, California.

 

Kari M. Myron, Declarant 4

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PLAINTIFF’S REPLY BRIEF RE: ERISA ISSUES

 

 

 
